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14
15                            UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17
18   NETLIST INC., a Delaware                CASE NO. 8:20-cv-993-MCS (ADS)
     corporation,
19                                           PLAINTIFF NETLIST INC.’S
                         Plaintiff,          RESPONSE TO DEFENDANT’S EX
20                                           PARTE APPLICATION TO STAY
           v.                                EXECUTION OF AWARD OF COSTS
21
     SAMSUNG ELECTRONICS CO.,                Hon. Mark C. Scarsi
22   LTD., a Korean corporation,
23                       Defendant.
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                                                                   NETLIST RESPONSE TO
                                                      DEFENDANT’S EX PARTE APPLICATION
                                                           CASE NO. 8:20-CV-993-MCS (ADS)
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 1             RESPONSE TO DEFENDANT’S EX PARTE APPLICATION
 2         Plaintiff Netlist, Inc. does not oppose a stay of the execution of the award of
 3   costs in favor of Netlist, dated April 1, 2022. That position was conveyed, via
 4   voicemail, by the undersigned counsel to counsel for Samsung on April 25, 2022.
 5   Further, Netlist proposed that Samsung prepare a stipulation for their requested relief.
 6   Counsel for Samsung did not respond or further communicate on this issue after the
 7   voicemail at issue.
 8
 9   Dated: April 27, 2022                  GIBSON, DUNN & CRUTCHER LLP
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                                                                         NETLIST RESPONSE TO
                                                            DEFENDANT’S EX PARTE APPLICATION
                                                                 CASE NO. 8:20-CV-993-MCS (ADS)
